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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
        Plaintiffs,                 )
                                    )      CIVIL ACTION NO.
        v.                          )        2:14cv601-MHT
                                    )             (WO)
JOHN HAMM, in his                   )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
        Defendants.                 )

                    ORDER REGARDING ADOC’S
                 APPLICATION FOR NIC TRAINING

    In light of the defendants’ representations that ADOC

has not yet been selected to participate in the NIC’s

training programs in 2022,* see Defs.’ Status Reports

(Doc. 3563, Doc. 3663 & Doc. 3702), and pursuant to the




    *
         According to the defendants, the NIC can
accommodate four agencies in each training.      It also
appears that the NIC held two (and possibly three)
trainings in 2022; it is unclear to the court whether a
third training was actually held.     Thus, eight to 12
other agencies have presumably been selected over ADOC
across the trainings the department applied for in 2022.
See Defs.’ Notice (Doc. 3663) at 2.
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court’s order requiring defendants to continue to pursue

such training (Doc. 3756), the court further ordered the

defendants to file a report on the status of their efforts

to pursue such training (Doc. 3795).

      In their filing, the defendants noted briefly that

the ADOC was not selected for the final remaining 2022

training by the NIC and that the department would need

to    reapply      for    2023     training      opportunities        once

registration opens.          See Defs.’ Notice (Doc. 3796) at 2;

see also Monthly Staffing Analysis Report (Doc. 3790-1)

at 1 (noting that ADOC is “[a]waiting solicitation for

applicants for 2023 training”).

      Given that the ADOC has not been selected for any of

the NIC trainings for which it has applied in 2022 and

given ADOC’s urgent need for such training, it is ORDERED

that:

      (1) Both plaintiffs and defendants are to look into

            why NIC has rejected ADOC’s applications and

            what, if anything, ADOC can do to boost the




                                     2
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       likelihood      of    its    success      in   getting         NIC

       training in early 2023.

 (2) On or before October 27, 2022, plaintiffs and

       defendants are to file reports on what they find.

 DONE, this the 11th day of October, 2022.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE




                                3
